UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE PAYMENT CARD INTERCHANGE
FEE AND MERCHANT DISCOUNT
ANTITRUST LITIGATION No. 14-MD-1720 (MKB) (JO)

This Document Applies to:
PLAINTIFFS’ STIPULATION AND
Hawaiian Holdings, Inc., et al. v. Visa, Inc., et ORDER OF DISMISSAL WITH

al., No. 13-06370 (E.D.N.Y.) (MIKB) (JO). PREJUDICE OF ALL CLAIMS
AGAINST THE VISA DEFENDANTS
JetBlue Airways Co., et al. v. Visa, Inc., et al., AND THE MASTERCARD

No. 13-06424 (E.D.N.Y.) (MKB) (JO). DEFENDANTS

DSW, Inc., v. Visa Inc., et al., No, 13-06503
(E.D.N.Y.) (MKB) (JO).

Federal Express Co., et al. v. Visa, Inc., et al.,
No. 13-06508 (E.D.N.Y.) (MKB) GIO).

Southwest Airlines Co., et al. v. Visa, Inc., et
al., No. 13-06348 (E.D.N.Y.) (MIKB) (JO).

Alaska Air Group, Inc., et al. v. Visa, Inc., et
al,, No. 13-07175 (E.D.N.Y.) (MKB) (JO).

Progressive Casualty Insurance Co., et al. v.
Visa Inc., et al., No. 14-00276 (Z.D.N.Y.)
(MKB) (JO).

Carnival Corp., et al. v. Visa Inc., et al., No.
14-00716 (E.D.N.Y.) (MKB) (JQ).

O'Reilly Automotive Stores, Inc., et al. v. Visa,
Inc., et al., No. 14-02086 (E.D.N.Y.) (MKB)
(30).

 

 

WHEREAS Plaintiffs in the actions Hawaiian Holdings, Inc., et al. v. Visa, Inc., et al.,
No. 13-06370 (E.D.N.Y.), JetBlue Airways Co., et al. v. Visa, Inc., et al., No. 13-06424
(E.D.N.Y.), DSW, Inc., v. Visa Inc., et al., No. 13-06503 (E.D.N.Y.), Federal Express Co., et al.

v. Visa, Inc., et al., No. 13-06508 (E.D.N.Y.), Southwest Airlines Co., et al. v. Visa, Inc., et al.,
No. 13-06548 (E.D.N.Y.), Alaska Air Group, Inc., et al. v. Visa, Inc., et al., No. 13-07175
(E.D.N.Y.), Progressive Casualty Insurance Co., et al. v. Visa Inc., et al., No. 14-00276
(E.D.N.Y.), Carnival Corp., et al. v. Visa Inc., et al., No. 14-00716 (E.D.N.Y.), and O'Reilly
Automotive Stores, Inc., et al. v. Visa, Inc., et al., No. 14-02086 (E.D.N.Y.), which are included
in In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, 1:05-md-
01720 (E.D.N.Y.) (collectively the “Plaintiffs”), having fully settled all of their respective claims
against the Defendants Visa U.S.A. Inc., Visa International Service Association, and Visa Inc.
(collectively the “Visa Defendants”), and MasterCard International Incorporated and MasterCard
Incorporated (collectively the “MasterCard Defendants”), by and through their undersigned
counsel, hereby stipulate and agree, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
that Plaintiffs’ claims and actions against the Visa Defendants and the MasterCard Defendants be
dismissed with prejudice, and with each side to bear its own attorneys’ fees and costs.

Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
claims and actions of the Plaintiffs be and hereby are dismissed with prejudice, with each side to
bear its own attorneys’ fees and costs.

Dated: January /@ 2015.
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Midwest, LLC, Progressive Casualty Insurance
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Insurance Company, Southwest Airlines Co., T-
Y Group, LLC, Wegmans Food Markets, Inc.,
and Zipcar, Inc,
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SO ORDERED:

Dated:

 

United States District Judge
